Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 1 of 8 PageID 1
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 2 of 8 PageID 2
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 3 of 8 PageID 3
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 4 of 8 PageID 4
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 5 of 8 PageID 5
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 6 of 8 PageID 6
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 7 of 8 PageID 7
Case 3:11-cv-00842-MMH-MCR Document 1 Filed 08/22/11 Page 8 of 8 PageID 8
